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                            UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA



IN RE: SOCIAL MEDIA ADOLESCENT                       Case No.: 4:22-md-03047-YGR
ADDICTION/PERSONAL INJURY
PRODUCTS LIABILITY LITIGATION                        MDL No.: 3047

This Document Relates to:

Nuala Mullen and Elizabeth Mullen                    JOINT STATEMENT RE: MULLEN
                                                     DISCOVERY DISPUTE – THE
Member Case No.: 4:23-cv-00600                       DEPOSITION OF FELICIA CANNON
                                                     Judge: Hon. Yvonne Gonzalez Rogers

                                                     Magistrate Judge: Hon. Peter H. Kang



Dear Judge Kang:
Pursuant to the Court’s Standing Order of Discovery in Civil Cases, the PI/SD Plaintiffs and
Defendants respectfully submit this letter brief regrading a dispute related to the deposition of
Felicia Cannon.
Pursuant to the Discovery Standing Order and Civil Local Rule 37-1, the Parties attest that they
repeatedly met and conferred by video conference, correspondence, and telephone before filing
this brief. The final conferral was held on March 28, 2025 via videoconference and was attended
by lead trial counsel for the Parties involved. The Parties have concluded that no agreement or
negotiated resolution can be reached.


Date: April 3, 2025                              Respectfully submitted,

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Defendants’ Position
Defendants request an order requiring that Plaintiff produce fact witness Felicia Cannon for
deposition in a manner allowed by the Federal Rules of Civil Procedure by April 30, 2025, and
excluding Ms. Cannon’s testimony in this Action (in any form, in connection with summary
judgment, other motion practice, at trial, or at any time) if Plaintiff fails to produce her. Ms.
Cannon is represented by Plaintiff’s counsel and currently resides in Switzerland, where it is
impossible to schedule a deposition during the discovery period because prior authorization
under the Hague Convention is required. If Plaintiff does not facilitate Ms. Cannon’s deposition
Defendants will be unfairly prejudiced and she should therefore be excluded. Fed. R. Evid. 403.

Background
Plaintiff identified Ms. Cannon as a fact witness possessing information related to Plaintiff’s
alleged social media addiction and anorexia. On January 2, Defendants informed Plaintiff’s
counsel of their intent to depose Ms. Cannon. On February 5, Plaintiff’s counsel confirmed they
represent Ms. Cannon, proposed a date of April 5, 2025 (one day after the close of fact
discovery) for Ms. Cannon’s deposition, and requested confirmation as to whether Defendants
planned to travel to Switzerland for the deposition or conduct the deposition remotely via Zoom.
Defendants responded on February 11 (less than a week later), providing their understanding that
deposition testimony could only be legally obtained in Switzerland under the Hague Convention,
and Swiss law’s provision that attorneys who attempt to take a deposition or serve process in
Switzerland without legal authorization are subject to criminal charges. Defendants explained
that it would take a considerable amount of time to receive authorization to depose Ms. Cannon,
and it would not be feasible to do so prior to the close of fact discovery. Based on their
understanding of the applicable law, Defendants requested that Plaintiff’s counsel either agree to
have Ms. Cannon travel outside of Switzerland to a nearby location1 for her deposition or
confirm they would not call Ms. Cannon as a witness at trial. Plaintiff’s counsel did not agree.

During the Parties’ attempts to resolve this issue, Plaintiff’s counsel indicated that Ms. Cannon
travels to the United States at least once per year but on March 26, 2025 notified us that he
is unable to provide a date certain when Ms. Cannon will be in the United States and available to
sit for a deposition. Plaintiffs’ counsel further indicated that they do intend to call Ms. Cannon as
a witness at trial.

Plaintiff’s proposed alternatives do not remedy the issue. Plaintiff’s position, both during
discussions and in this brief, fundamentally misunderstands Swiss law. The issue is not that
Defendants are unable to serve Ms. Cannon. As set out more fully below, the issue is that any
attempt to collect evidence while Ms. Cannon is located in Switzerland is subject to the
provisions and penalties of Article 271 of the Swiss Criminal Code which requires prior
authorization. Even if Ms. Cannon voluntarily provided testimony in this case, it is a violation of
Swiss law and is subject to criminal penalties if the proper authorizations were not in place. This
is true even if the testimony is obtained remotely or is not under oath. Ms. Cannon must travel
outside of Switzerland to provide testimony, or the testimony must be taken in compliance with

1
 For example, Defendants proposed Ms. Cannon travel approximately 1.5 hours by plane from Switzerland to
London, where the voluntary deposition of willing witnesses in civil matters is permitted regardless of the
nationality of the witness. Ms. Cannon’s deposition may also be able to proceed in Finland, the Netherlands,
Belgium, or Spain – all roughly 1.5 hours by plane from Switzerland.
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the Hague Convention. Plaintiff    also offers to waive the discovery deadline to allow
Defendants to depose Ms. Cannon on at an unidentified future date on the eve of trial. However,
for reasons explained further below, Plaintiff’s proposal is not fair to Defendants.

Swiss Law Functionally Precludes Defendants from Taking Ms. Cannon’s Testimony in
Switzerland
Defendants cannot take Ms. Cannon’s testimony in Switzerland without authorization under the
Hague Convention, and the process to obtain that authorization would have been too time
consuming to complete in the 60 days between when Plaintiff’s counsel informed Defendants
that Ms. Cannon permanently resides in Switzerland and the close of fact discovery. Article 271
of the Swiss Criminal Code provides that testimony intended for foreign proceedings may not be
legally obtained in Switzerland without prior authorization from relevant Swiss authority. Prior
authorization would need to be obtained via the Hague Convention, which is a complex process
that takes time. See, e.g., Schindler Elevator Corp. v. Otis Elevator Co., 657 F. Supp. 2d 525, 529
(D.N.J Sept. 24, 2009) (“[i]t is simply not possible to determine how long it would take to
proceed with a deposition in Switzerland (or any other foreign country) under the Hague
Convention. It has been the experience of this and many other courts that utilization of Hague
procedures are slow and cumbersome and usually take far longer than discovery procedures
under the Federal Rules.”). Further, attorneys attempting to circumvent this process and proceed
with a deposition in Swiss territory open themselves to criminal charges.2 Accordingly, it is not
practical or feasible for Defendants to take the testimony of Ms. Cannon while she is located in
Switzerland, and certainly not before the close of fact discovery.

Defendants Will Be Severely Prejudiced if They are Unable to Depose Ms. Cannon
Defendants will be unduly prejudiced if they are not able to depose Ms. Cannon sufficiently prior
to trial to prepare their case. Ms. Cannon, who is represented by Plaintiff’s counsel, appears to
have relevant, discoverable information. Plaintiff has identified Ms. Cannon in her PFS as one of
five fact witnesses who she believes possesses “the most significant information” concerning
Nuala Mullen’s use of social media and alleged injuries. See PFS at § XIV (emphasis added).
Plaintiff further states that Ms. Cannon has “testimonial knowledge of Ms. Mullen’s social media
addiction and her struggle with anorexia.” See Plaintiff’s Position. Defendants will therefore
suffer severe and unfair prejudice if they are not able to depose Ms. Cannon prior to trial,
particularly if Plaintiffs are permitted to call Ms. Cannon as a witness.

Plaintiffs’ Proposed Workarounds are Insufficient and Unreasonable
Plaintiff proposes four “alternatives” to producing Ms. Cannon for deposition during the
discovery period. The first two are blatant violations of Article 271. Plaintiff’s other two
proposed “workarounds” – having Ms. Cannon participate in an unsworn interview and/or
having Ms. Cannon sit for a deposition during trial – are insufficient and unreasonable. First, it is
likely that an unsworn interview conducted while Ms. Cannon is in Switzerland violates Article

2 See, e.g., U.S. Embassy in Switzerland and Liechtenstein, Obtaining Evidence, https://ch.usembassy.gov/u-s-

citizen-services/local-resources-of-u-s-citizens/living-in-ch/judicial-information/obtaining-evidence/ (“Evidence
may be obtained in Switzerland in two ways: under the Hague Convention on the Taking of Evidence Abroad in
Civil or Commercial Matters or by the letters rogatory process. In addition, the Swiss penal code 271 provides that
attorneys attempting to take a deposition or serve process in Switzerland outside of these authorized methods are
subject to arrest on criminal charges.”) (emphasis added) (last visited Mar. 31, 2025).
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271 of the Swiss Criminal Code which prohibits the collection of evidence without specific
authorization. Even if this were allowable under Swiss law, Plaintiff’s offer to stipulate to
admissibility for impeachment based on prior inconsistent statements, given in an unsworn
interview in lieu of sworn deposition testimony, is unreasonable and unfairly prejudicial to
Defendants. Deposition testimony is given under oath for good reason. See Fed. R. Civ. P. 28(a)
(requiring a deposition be taken before “an officer authorized to administer oaths”) Fed. R. Evid.
801(d)(1)(A) (requiring prior inconsistent statements used to impeach to have been given “under
penalty of perjury at a trial, hearing, or other proceeding or in a deposition.”) Because unsworn
statements lack this assurance of trustworthiness, Defendants cannot rely on them in the same
way they could rely on sworn testimony.

Plaintiff’s offer to produce Ms. Cannon for a deposition on the eve of trial is likewise
unreasonable. Defendants should not have to wait until hours before trial to learn what an
important witness will testify to under oath. Not only would an eleventh-hour deposition unfairly
prejudice Defendants’ trial preparation, it would also unduly impact the bellwether selection
process. Delaying depositions of important witnesses until after the selection of bellwether trials
would undermine the process and unfairly prejudice Defendants by preventing them from
obtaining information in Plaintiffs’ possession before bellwether selection. Plaintiff chose to
disclose Ms. Cannon as a key witness. She is represented by Plaintiff’s counsel and is
presumably within their control. Their refusal to produce her for a deposition in compliance with
the Federal Rules of Evidence risks a trial by ambush and presents a substantial risk of unfair
prejudice to Defendants. For all of these reasons, the Court should require Plaintiff to produce
Ms. Cannon for a deposition outside of Switzerland by April 30, 2025, or exclude Ms. Cannon’s
testimony as unfairly prejudicial under Fed. R. Evid. 403 if Plaintiff is unwilling or unable to
produce her.
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Plaintiffs Position
The U.S. Supreme Court once observed that the purpose of discovery is to “make a trial less a
game of blindman’s bluff and more a fair contest with the basic issues and facts disclosed to the
fullest practicable extent.” United States v. Proctor & Gamble Co., 356 U.S. 677, 682, 78 S. Ct.
983 (1958). Defendants claim that they are unable to conduct discovery regarding the anticipated
testimony of Felicia Cannon because she resides in Switzerland. However, Plaintiff has proposed
four separate means by which Defendants may discover Ms. Cannon’s testimony by deposition
and in a form functionally and practically equivalent to a deposition. Defendants simply refuse to
avail themselves of these options, insisting instead that exclusion is the only recourse.

Respectfully, the truth-seeking process of trial would be needlessly curtailed under Defendants’
rigid and inflexible position, particularly where Plaintiff has offered alternative means by which
Defendants can discover Ms. Cannon’s testimonial evidence. For the foregoing reasons, Plaintiff
requests an order permitting fact witness Felicia Cannon to provide testimonial evidence under
one of the four proposals set forth by Plaintiff.

Background
Ms. Cannon, age 20, is Ms. Mullen’s first cousin and longtime friend. Ms. Cannon has
knowledge of Ms. Mullen’s social media addiction and her struggle with anorexia. Ms. Cannon,
a U.S. citizen who has lived near Zurich, Switzerland, her entire life has no plans to return to the
United States in the next four months. Plaintiff identified Ms. Cannon as a fact witness on the
Plaintiff Fact Sheet submitted to Defendants on March 28, 2024, which included Ms. Cannon’s
address in Switzerland where she still resides.

Defendants began requesting depositions in the Mullen matter on November 26, 2024. Despite
knowing that Ms. Cannon lives in Switzerland, Defendants did not identify her as a witness until
January 2. Plaintiff confirmed on January 29, that Ms. Cannon would sit voluntarily for
deposition. On February 11 (almost two weeks later), Defense counsel raised concern that under
Swiss law, evidence may be obtained only in Switzerland through either the Hauge Convention
or by the letters rogatory process. Defendants insisted that Ms. Cannon travel to England to sit
for deposition or that Plaintiff stipulate to not calling Ms. Cannon at trial. On February 13,
Plaintiff offered to stipulate that, consistent with the Rules of Evidence, Plaintiff would not
object to any use of Ms. Cannon’s deposition at trial on the ground that it was taken without a
Letter of Request under the Hague Convention. Defendants rejected that solution and again
insisted that Ms. Cannon travel outside of Switzerland to sit for deposition. On February 25,
Plaintiff confirmed with Defendants that Ms. Cannon remained unavailable to travel to the UK to
be deposed and offered the following solutions:

   1. Ms. Cannon agreed to voluntarily sit for a sworn deposition in Zurich without the need
      for a subpoena.
   2. Ms. Cannon agreed to be deposed from Switzerland by video conference before a court
      reporter based in the United States.
   3. Ms. Cannon agreed to a transcribed interview not under oath from Switzerland by video
      conference with a stipulation by Plaintiff that if she testifies inconsistently at trial,
      Defendants may introduce her interview into evidence to prove the truth of the matter
      asserted pursuant to Fed. R. Evid. 801(d)(1)(A).
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Plaintiff’s proposed solutions were ignored entirely when Defendants finally responded on
March 7. Instead, Defendants insisted upon the same two options: either (1) Plaintiff stipulate to
not calling Ms. Cannon at trial, or (2) Ms. Cannon travel outside of Switzerland to sit for
deposition. Plaintiff’s counsel conferred with defense counsel on March 13 and conveyed that
Plaintiff remained committed to finding a solution, again reiterating their three proposals along
with a fourth option:

   4. Plaintiff would agree to waive the discovery cutoff deadline to produce Ms. Cannon for
      an in-person deposition when she returns to the United States prior to trial.
Defendants followed up March 8, again ignoring all of Plaintiff’s proposed solutions and
insisting Plaintiff provide a date Ms. Cannon would travel to the U.S. to sit for a deposition. The
parties conferred once more on March 28, and once again Defendants offered no comment on
any of the proposed solutions offered by Plaintiff. Instead, Defendants insisted that Ms. Cannon
either travel outside of Switzerland to be deposed or that Plaintiff stipulate to not calling her at
trial.

Swiss Penal Code does not prevent Defendants from obtaining Ms. Cannon’s relevant testimony.
Swiss Penal Code Article 271 is primarily concerned with protecting Swiss sovereignty by
preventing foreign judicial or administrative acts from taking place on Swiss soil without proper
authorization. Schindler Elevator Corp. v. Otis Elevator Co., 657 F. Supp. 2d 525, 530 (D.N.J.
2009). However, it has been interpreted narrowly, applying only to “egregious encroachments on
Swiss sovereignty,” as discussed in Laitram Corp. v. Hale, 438 So. 2d 269, 273 (La. Ct. App.
1983), writ denied, 440 So. 2d 763 (La. 1983). Rather, Article 271 simply “forbids service
without the intervention of the Swiss authorities.” Id.

Plaintiff has found no case law with similarly situated facts to those at issue here. Importantly,
this is not a case where a foreign resident refuses to produce documents or provide testimony.
Quite the contrary, Ms. Cannon—a third-party fact witness with relevant information material to
the case—has expressed willingness to provide testimony through reasonable, alternative means.
Ms. Cannon is unavailable to travel to the UK to sit for deposition and has no immediate plans to
travel to the United States. Nevertheless, Plaintiff has proposed four solutions to satisfy
Defendants’ discovery interests without any prejudice to their ability to use her testimony at trial.
Defendants have never explained why none of these proposed solutions are acceptable, insisting
instead that if they cannot take Ms. Cannon’s deposition outside of Switzerland then exclusion
from trial is the only recourse. Defendants’ position is inconsistent with the plain letter and spirit
of the federal rules.

Wholesale exclusion of a fact witness’ testimony at trial is an extreme remedy that is particularly
inappropriate where other equitable solutions exist to ameliorate potential prejudice. See, e.g.,
Eddystone Rail Co., LLC v. Bridger Logistics, LLC, No. 2:17-CV-00495-JDW, 2023 WL
11954994, at *1 (E.D. Pa. Feb. 6, 2023) (describing exclusion of rebuttal fact witnesses as “an
extreme remedy”); In re Dorsie's Steak House, Inc., 130 B.R. 363, 364 (D. Mass. 1991)
(sufficient factual findings regarding late-disclosed fact witnesses required to support “the
extreme remedy of exclusion of evidence”); U. S. Dep’t of Energy v. White, 653 F.2d 479, 490
(C.C.P.A. 1981) (describing exclusion of a fact witness as a “draconian remedy”).
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It is axiomatic that the truth-seeking function of a trial should prevail above less noble interests.
Darden v. Wainwright, 477 U.S. 168, 194, 106 S.Ct. 2464, 91 L.Ed.2d 144 (1986) (“The solemn
purpose of endeavoring to ascertain the truth ... is the sine qua non of a fair trial.”) (quotation and
citation omitted); United States v. Hunt, 896 F.2d 1288, 1296 (11th Cir.1990) (“The purpose of a
trial is to ferret out the truth.”). Defendants make little effort to explain why Plaintiff’s proposed
solutions are “insufficient and unreasonable” to meet their discovery needs, particularly where
Plaintiff’s proposals would allow Defendants to use Ms. Cannon’s statements in the exact same
manner as a sworn deposition at trial. For all these reasons, the Court should reject Defendants’
request to force Ms. Cannon to travel outside of Switzerland at Defendants’ behest or to exclude
her testimony from trial. Rather, the Court should order that Ms. Cannon may provide testimony
under one of Plaintiff’s four solutions outlined above.
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                                        ATTESTATION

       I, Nicholas J. Begakis, hereby attest, pursuant to N.D. Cal. Civil L.R. 5-1, that the

concurrence to the filing of this document has been obtained from each signatory hereto.



Dated: April 3, 2025                                         By: /s/ Nicholas J. Begakis________
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